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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR83
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
BONNIE S. TIMLICK,                            )
                                              )
              Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objection thereto (Filing No. 91). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these tentative findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 38 and 41. More specifically, the Defendant does not

recall the offense described in ¶ 38 which results in an additional 2 criminal history points

being added for recency pursuant to U.S.S.G. § 4A1.1(d) in ¶ 41. Pursuant to the

addendum to the PSR, it appears that supporting court documents are available. This

matter will be heard at sentencing unless the objection is withdrawn at or prior to

sentencing. The burden of proof by a preponderance of the evidence lies with the

government.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 91) will be heard at sentencing;
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       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of March, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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